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            16                                     UNITED STATES DISTRICT COURT

            17                                 NORTHERN DISTRICT OF CALIFORNIA

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            19       WHATSAPP INC., a Delaware corporation,       Case No. 4:19-CV-07123-PJH
                     and FACEBOOK, INC., a Delaware
            20       corporation,                                 WHATSAPP’S AMENDED
                                                                  ADMINISTRATIVE MOTION TO SEAL
            21                                                    CONFIDENTIAL MATERIAL IN
                                     Plaintiffs,                  WHATSAPP’S MOTION TO DISQUALIFY
            22                                                    DEFENSE COUNSEL AND SUPPORTING
                           v.                                     DOCUMENTS
            23
                     NSO GROUP TECHNOLOGIES LIMITED               LOCAL RULES 7-11 AND 79-5
            24       and Q CYBER TECHNOLOGIES LIMITED,
                                                                  Judge:     Hon. Phyllis J. Hamilton
            25                       Defendants.                  Date:      None Required (L.R. 7-11(c))

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  COOLEY LLP
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                                                                                            WHATSAPP’S AMENDED
 SAN FRA NCI S CO                                                                          ADMIN MOTION TO SEAL
                                                                                      CASE NO. 4:19-CV-07123-PJH
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